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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             )
 In re:                                                      )        Chapter 11
                                                             )
 PURDUE PHARMA L.P., et al., 1                               )        Case No. 19-23649 (RDD)
                                                             )
                                     Debtors.                )        (Jointly Administered)
                                                             )


  OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ REPLY IN SUPPORT OF
     MOTION TO COMPEL PRODUCTION OF PURPORTEDLY PRIVILEGED
       DOCUMENTS, OR FOR IN CAMERA REVIEW, BASED ON FAILURE
                 OF THE SACKLERS TO DEMONSTRATE
            DOCUMENTS IDENTIFIED ON LOGS ARE PRIVILEGED




1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium
Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp.
(4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue
Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805),
Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF L.P. (0495), SVC Pharma L.P. (5717) and SVC
Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
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         The Official Committee of Unsecured Creditors (the “UCC”) of Purdue Pharma, L.P. and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”) respectfully submits

this reply memorandum (the “Reply”) in support of its Motion to Compel Production of

Purportedly Privileged Documents, or for In Camera Review, Based on Failure of the Sacklers to

and the Debtors Demonstrate Documents Identified on Logs are Privileged [ECF No. 1752] (the

“Motion”) 2 seeking an order requiring the CSPs 3 to produce to the UCC, or provide for review in

camera by the Court, 4 the Withheld Documents. For the avoidance of doubt, and as set forth in

the Stipulation of Settlement and Agreed Order Regarding Official Committee’s Motion to Compel

and Debtors’ Motion for a Protective Order [ECF No. 1955], the UCC and the Debtors have

resolved the portions of the Motion pertaining to documents withheld by the Debtors; and, as such,

the UCC seeks no further relief from the Debtors in respect of the Motion. The Ad Hoc Group of

Non-Consenting States (“NCSG”) affirmatively supports the relief requested in the Motion and

this Reply.

                                      PRELIMINARY STATEMENT
         1.       As the only creditor fiduciary in these cases, the UCC has worked tirelessly in

discovery to evaluate the Settlement Framework, including the valuable estate and third-party

causes of action from which the Sacklers seek to be released. Emails and other contemporaneous

written communications have provided the best—and in many cases the only—source of

2
  Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
Evidence supporting the Motion and cited below was attached to the Declaration of Mitchell Hurley dated September
29, 2020 [ECF 1754] (the “Hurley Decl.”), concluding with exhibit number 109. The UCC has identified substantial
additional evidence in support of the Motion since it filed its opening papers. For ease of reference, such new evidence
will be attached to the Declaration of Arik Preis dated November 18, 2020 (the “Preis Decl.”) beginning with exhibit
number 110. In the Motion and this Reply, the privilege logs subject to the UCC’s challenges are described as the
“Side A Logs” and the “Side B Logs.” The Side A Logs and Side B Logs are sometimes collectively referred to as
the “Sackler Logs” or the “Privilege Logs.”
3
  As defined in the Scheduling Stipulation, the CSPs include the Raymond Side (or “Side B”) Initial Covered Sackler
Persons and Additional Custodians and the Mortimer Side (or “Side A”) Covered Parties. The CSPs are sometimes
referred to collectively herein as the “Sacklers” or, as applicable, the “Side A Sacklers” and the “Side B Sacklers.”
4
  The UCC withdraws its alternative request for appointment of a special master in light of Bankruptcy Rule 9031.


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information regarding the transactions and events at issue, particularly given (i) the passage of

time, (ii) the death or incapacity of potentially key witnesses, 5 (iii) the claimed inability of

surviving members of the Sackler family and their trusted advisors to recall circumstances

surrounding the transactions and events that are the focus of the UCC’s investigation, and (iv) the

assertion of the Fifth Amendment by former CEOs of Purdue. As such, it is particularly critical to

the UCC’s ongoing investigation to ensure that any documents that the Sacklers have improperly

withheld from disclosure based on an unsupported claim of privilege are produced.

         2.       Mindful of the Court’s admonition to move these cases forward and in an effort to

lessen the burden on the parties and the Court, the UCC has reduced the number of purportedly

privileged documents withheld or redacted by the Sacklers that the UCC is challenging by nearly

90%. 6 This reduction (i) zeroes in on documents most important to the claims at issue, 7 and (ii)

takes into account the nearly 8,600 documents that the Sacklers previously withheld and/or

redacted as privileged and have now agreed to produce in full or with fewer redactions as the result




5
  Raymond, Mortimer Sr., Beverly, and Jonathan Sackler no longer are living. On November 16, 2020, long-time
Purdue Board member Peter Boer felt well enough to get through only about 45 minutes of his deposition. Today, the
UCC was informed by Mr. Boer’s lawyer that Mr. Boer may never be deposed again due to health reasons.
6
  In its Motion, the UCC challenged a total of 23,686 entries on the Sacklers’ Privilege Logs. The UCC is now
challenging just 2,673 entries. The updated lists of challenged entries, as they appear on the Privilege Logs, are
included on Exhibits A and B to the Preis Declaration. The UCC respectfully requests that the Court refer to these
updated Exhibits when entering any order granting the UCC’s requested relief.
7
  In an effort to address the Sacklers’ claim that documents identified on their Privilege Logs are not relevant to the
UCC’s investigation, the UCC agreed to consider dropping its challenges to documents that the Sackler family
identified as falling outside the three document categories (the “Categories”) identified in the Exceptions Motion, as
set forth in Exhibit 101 to the Hurley Declaration filed concurrently therewith. See Preis Decl., Ex. 110 (Sept. 25,
2020 letter from M. Hurley to A. Lees); id. Ex. 111 (Oct. 12, 2020 letter from M. Hurley to Side B); id. Ex. 112 (Oct.
14, 2020 letter from M. Hurley to Side A); id. Ex. 113 (Oct. 20, 2020 email from E. Scott to Side A); id. Ex. 114 (Oct.
23, 2020 email from E. Scott to Side A); id. Ex. 115 (Oct. 29, 2020 email from E. Scott to Side A). Side B has taken
the UCC up on its offer and identified 2,231 documents purportedly outside the Categories, and the UCC has agreed
to withdraw its challenge to approximately 2,000 of those documents. See Preis Decl., Ex. 116 (Sept. 28, 2020 letter
from Side B); id. Ex. 117 (Oct. 19, 2020 letter from Side B). Despite four separate requests, Side A has ignored the
UCC’s offer, and has not identified documents on the Side A Logs that are outside the Categories. Nevertheless and
despite the fact that it is without access to the underlying documents at issue, the UCC has done its best to limit its
challenges to documents within the Categories.


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whether further in camera review or other relief is appropriate respecting the identified categories.

Given the burdens on the Court’s time and the urgency of these issues, the UCC has identified a

set of 87 documents (approximately 3% of the overall total number of challenged entries sought

herein) for in camera review, including a selection of documents from each category noted. While

the UCC obviously does not have the benefit of viewing the actual documents, it believes this

sample of 87 documents would be an appropriate place to begin based on the limited information

available in the Privilege Logs. 13

         6.       The UCC will continue to work diligently and in good faith with the mediators and

other parties in interest in mediation in an effort to reach a consensual resolution with the Sacklers,

including with respect to the estate claims. Indeed, the UCC is hopeful that the evidence it has

unearthed to date will be sufficient to elicit reasonable settlement terms from the Sacklers, perhaps

even before December 15, 2020, when the Motion is scheduled to be heard. The UCC respectfully

submits, however, that the further disclosure and/or in camera review it requests will be critical if

the parties are unable to reach a consensual resolution by that time, and, if necessary, will

substantially aid the UCC and other parties in interest as they prepare to prosecute the estates’

valuable claims.

                                                  ARGUMENT
         7.       The Sacklers’ Objections to the Motion largely hinge on the false premise that it is

the UCC’s burden to show that the Withheld Documents are not subject to the attorney-client

privilege or work product protection. 14 See, e.g., Side A General Challenges Obj. ¶¶ 21, 23, 31;


13
   The control numbers of the Privilege Log entries submitted for in camera review are listed in Exhibit C to the Preis
Declaration. These entries, as they appear on the Privilege Logs, are also highlighted in yellow on Exhibits A and B
of the Preis Declaration.
14
   The UCC uses the term “privilege” in the Motion as shorthand to refer to all alleged immunities from disclosure,
and should not be construed to limit the UCC’s challenges to attorney-client privilege alone, and instead also
encompasses work product and all other doctrines upon which the Sacklers rely to protect the Withheld Documents
from disclosure. As the Sacklers well know through the numerous meet and confer letters exchanged and the Motion


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Side B General Challenges Obj. at 14, 18, 23, 30, 31. But that is not the law in this Circuit. Indeed,

contrary to their contentions, it is the Sacklers who bear the “heavy burden” of establishing (1) all

of the elements of the attorney-client or work product privilege with respect to any information

withheld from disclosure, and (2) that the applicable privilege has not been waived. Fifty-Six Hope

Rd. Music Ltd. v. UMG Recordings, Inc., No. 08 CIV. 6143(DLC), 2010 WL 343490, at *3

(S.D.N.Y. Feb. 1, 2010) (“Like the attorney client privilege, the party invoking the [work product]

privilege bears ‘the heavy burden’ of establishing its applicability.”) (citing In re Grand Jury

Subpoena Dated July 6, 2005, 510 F.3d 180, 183 (2d Cir. 2007)); Granite Partners v. Bear, Stearns

& Co., 184 F.R.D. 49, 52 (S.D.N.Y. 1999) (“The party seeking to assert a claim of privilege has

the burden of demonstrating both that the privilege exists and that it has not been waived.”)

(citations omitted); see also Fleisher v. Phoenix Life Ins. Co., No. 11 CIV. 8405(CM)(JCF), 2013

WL 42374, at *3 (S.D.N.Y. Jan. 3, 2013) (similar); Bank of Am., N.A. v. Terra Nova Ins. Co., 212

F.R.D. 166, 169 (S.D.N.Y. 2002) (similar) (collecting cases). 15

         8.       Not only do the Sacklers bear the burden of establishing the elements of the

attorney-client and work product privileges and the non-waiver of these privileges, that burden

only “can be met [] by an evidentiary showing” by the Sacklers “based on competent evidence . .

. and cannot be ‘discharged by mere conclusory or ipse dixit assertions.’” Bowne of New York City,




itself, the UCC has consistently challenged their refusal to produce the Withheld Documents on all bases, including
attorney-client privilege, work product protection, common interest, and any other ground the Sacklers have asserted.
Side B’s suggestion that the UCC has not challenged the Sacklers’ work product assertions is baseless. See Side B
General Challenges Obj. at 30, 32.
15
   While Side B cites Third Circuit cases for the proposition that the burden of showing work product waiver is on the
moving party, see Side B General Challenges Obj. at 18-19 & n.36, courts in the Second Circuit clearly place the
burden of showing non-waiver on the withholding party. See Wultz v. Bank of China Ltd., 304 F.R.D. 384, 396
(S.D.N.Y. 2015) (determining that the “[non-moving party] has not met its burden of showing that the materials are
protectable as work product,” and noting that the “[moving parties] bear no burden of proof”); Curto v. Med. World
Commc’ns, Inc., 783 F. Supp. 2d 373, 380 (E.D.N.Y. 2011) (“‘The party asserting the protection afforded by the work
product doctrine has the burden of showing both that the protection exists and that it has not been waived.’”) (quoting
Bank of Am., N.A., 212 F.R.D. at 169 (collecting cases)).


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Inc. v. AmBase Corp., 150 F.R.D. 465, 470 (S.D.N.Y. 1993) (quoting von Bulow v. von Bulow, 811

F.2d 136, 144, 146 (2d Cir. 1987) (internal citations omitted)). Thus, the Sacklers must provide a

sufficient factual basis for the attorney-client and work product privilege claims for each

challenged document on their Privilege Logs, supported by evidence such as affidavits or

declarations. Id. at 473 (“In requiring a party to prove the factual basis for its claims of privilege,

the courts generally look to a showing based on affidavits or equivalent statements that address

each document at issue.”) (collecting cases); In re Modell, 171 B.R. 510, 514 (Bankr. S.D.N.Y.

1994) (purported privilege holder generally carries burden of demonstrating privilege “by way of

affidavits or equivalent statements discussing the applicability of the attorney-client privilege to

each document at issue”).

       9.      Simply put, the Sacklers have not met their evidentiary burden to show that each of

the Withheld Documents the UCC has challenged is privileged. Side A has submitted no affidavits

or declarations supporting their privilege claims. And Side B offered only the declaration of a

public relations firm to support withholding public relations documents and deposition testimony

in connection with               , which are insufficient for the reasons explained infra.

       10.     The Sacklers’ conclusory allegations in their Objections and reliance on their sparse

Privilege Logs are not enough to meet their burden of demonstrating privilege and non-waiver.

Indeed, a privilege log, standing alone, cannot support privilege claims where, as here with respect

to the presence of non-privileged third parties, there are factual gaps as to the applicability of

privilege. See, e.g., United States v. Constr. Prods. Research, Inc., 73 F.3d 464, 473 (2d Cir. 1996)

(“To facilitate its determination of privilege, a court may require an adequately detailed privilege

log in conjunction with evidentiary submissions to fill in any factual gaps.” (internal quotation

marks and citation omitted)); Bowne, 150 F.R.D. at 470 (similar). In Construction Products




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Research, the Second Circuit determined that cursory privilege log entries did “not provide enough

information to support the privilege claim,” “particularly in the glaring absence of any supporting

affidavits or other documentation.” Constr. Prods. Research, Inc., 73 F.3d at 474. While the entries

on the Privilege Logs here provide certain information as to the Withheld Documents such as date,

author, recipient, cc’s, subject, and description, the Privilege Logs alone do not provide adequate

information to establish that the challenged entries copying outside third parties deserve protection.

Therefore, the Sacklers must provide declarations or other evidence to support their privilege

allegations as to each challenged document. See Constr. Prods. Research, Inc., 73 F.3d at 473;

Bowne, 150 F.R.D. at 470; In re Modell, 171 B.R. at 514. Nor do the Sacklers’ conclusory

allegations as to privilege in their Objections replace the required evidentiary support to fill in the

factual gaps on the Privilege Logs. See Bowne, 150 F.R.D. at 470.

       11.     To be clear, the UCC is not requesting a “categorical de-designation” of all

documents on the Privilege Logs that include third parties or members of the Special Committee

after the Special Committee was formed, as the Sacklers claim in their Objections. See Side A

General Challenges Obj. ¶ 32. Rather, as Side A acknowledges, whether a document can be

withheld as privileged must be “considered on a document-by-document basis.” See id. ¶ 31. And

here, the Sacklers have not met their burden on a document-by-document basis by competent

evidence to prove that each of the Withheld Documents is subject to the attorney-client privilege

or work product protection.

       12.     Further, even if the Sacklers had met their burden to establish work product

protection for some of the documents at issue, the UCC has clearly established a “substantial need”

for the documents. First, the Withheld Documents not only are relevant to this case, but they are

also critical to diligence regarding the Settlement Framework and valuable estate and third-party




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causes of action, the release of which are contemplated by the proposed Settlement Framework

and must be evaluated by the Debtors’ creditors. See In re C.W. Mining Co., 442 B.R. 44, 48-49

(Bankr. D. Utah 2010) (determining that withheld documents were necessary to assist the Trustee

with administration of the estate and pending litigation). Such diligence—including access to

improperly withheld documents—is necessary to ensure that value is maximized for creditors and

that any release of the Sacklers and related parties from liability in these cases is appropriate, an

issue of paramount importance not only to the Debtors’ creditors, but to the public at large. 16

         13.      Additionally, the UCC has a substantial need for the Withheld Documents given the

informational asymmetry in these cases—the Debtors and the Sacklers have both benefited from

viewing the claimed work product and can consider those materials in their settlement analysis,

while the UCC cannot unless the materials are disclosed. See, e.g., Rackers v. Siegfried, 54 F.R.D.

24, 26 (W.D. Mo. 1971) (finding that “[i]f one party were to have knowledge of [information

pertinent to claims at issue] and the other party were to be without such knowledge, a distinct trial

advantage would accrue to the former party . . . [t]herefore, plaintiff has shown a substantial need

for the discovery of the documents within the meaning of the applicable rule”). And under the

unique circumstances of these proceedings—where multiple key witnesses are deceased, profess

to lack memory of even the most basic aspects of Purdue’s business, have invoked privilege to

avoid answering questions on numerous topics, and/or have invoked the Fifth Amendment,

refusing to testify about any matters concerning the Debtors whatsoever—no effective alternative




16
  As noted earlier, the UCC will continue to work diligently and in good faith with the mediators and other parties in
interest in mediation in an effort to reach a consensual resolution with the Sacklers, including with respect to the estate
claims. Indeed, the UCC is hopeful that the evidence it has unearthed to date will be sufficient to elicit reasonable
settlement terms from the Sacklers, perhaps even before December 15, 2020, when the Motion is scheduled to be
heard. The UCC respectfully submits, however, that the further disclosure and/or in camera review it requests will
be critical if the parties are unable to reach a consensual resolution by that time, and, if necessary, will substantially
aid the UCC and other parties in interest as they prepare to prosecute the estates’ valuable claims.


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the Sacklers’ most trusted business and legal advisor and has been since the late 1960s. 23 As such,

Mr. Baker’s importance to the UCC’s investigation cannot be overstated.

        18.      Mr. Baker has also recently admitted that

                                                                                             , 24 making it all the

more difficult to distinguish when he was acting in a business or legal capacity. When questioned

about

                                                         , Mr. Baker testified



                                                    25
                                                          Mr. Baker’s

                                                         further justifies the conclusion that a deeper inquiry

into the challenged Baker documents is appropriate.

        19.      The entries on the Privilege Logs alone are insufficient to carry the Sacklers’ burden

to prove that the predominant purpose of each of the challenged Baker and                         documents was

legal rather than business. 26 See Nat’l Day Laborer Org. Network v. USCIS, No. 16 CIV.

387(PAE), 2020 WL 5518114, at *8 (S.D.N.Y. Sept. 14, 2020) (holding that where a

communication contains both legal and business advice, it will be privileged only if its

“predominant purpose” was to render or solicit legal advice) (citing In re Cnty. of Erie, 473 F.3d

413, 420 (2d Cir. 2007)). The Sacklers offer little more than the unremarkable fact that they have

produced other documents involving Messrs. Baker and                        . 27 But the fact that the Sacklers

23
   See generally id.
24
   See Preis Decl., Ex. 219 (Baker Dep. 313:8-314:13 [HC]).
25
   See Preis Decl., Ex. 219 (Baker Dep. 321:18-322:9 [HC]).
26
   Due to a recently-discovered clerical error, a number of the UCC’s challenges to the entries copying Mr. Baker on
the Side B Logs were inadvertently omitted from Exhibit B to the Hurley Declaration that accompanied the Motion.
This error has been corrected, and the amended Exhibit B submitted in support of this Reply contains the full set of
challenged entries. See Preis Decl., Ex. B (Excel Tab 1).
27
   The parties have produced or agreed to produce additional documents involving Messrs. Baker and          that they
have determined are not privileged. See Side A General Challenges Obj. ¶¶ 39, 40 & n.20; Side B General Challenges


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the court decided the privilege issues only after reviewing Chipotle’s “amended privilege log, the

exhibits in camera, and the supplemented deposition transcript excerpts.” 94 F. Supp. 3d 585,

589-90 (S.D.N.Y. 2015). Nor is the UCC operating on mere “suspicions of counsel” as to their

challenges, unlike in the authority the Sacklers cite. See Alpex Computer Corp. v. Nintendo Co.,

Ltd., No. 86 Civ. 1749(KMW), 1988 WL 87511, at *3 (S.D.N.Y. Aug. 16, 1988). Instead, the

UCC has identified specific Privilege Log entries and challenged them for the specific reason that

the Sacklers have not established that the predominant purpose of the withheld communications

was legal in nature. 35 The UCC is not required to prove the Baker and                       communications are

not privileged to prevail on this Motion; it need only show that the Sacklers have not proven that

they are. See Constr. Prods. Research, Inc., 73 F.3d at 474. Here, the Sacklers have refused to

provide any such evidence or explanation to support their privilege claims, and instead have relied

solely upon their inadequate and generic Privilege Log entries, which fall well short of their

evidentiary burden.

           23.      Because the Sacklers have failed to offer any actual evidence in support of their

privilege claims regarding the Baker and                   documents, the Sacklers have failed to carry their

burden to assert attorney-client privilege or work product protection, and the Court would be

within its discretion to order production of the 629 challenged Baker and                     documents without

more. At a minimum, the UCC respectfully submits that the Court should undertake an in camera

review of a reasonable number of Baker and                          documents in order to consider whether

additional relief is appropriate on a basis informed by actually reviewing some of the information

that has been withheld on alleged privilege grounds. See Urban Box Office Network, Inc. v.

Interfase Managers, L.P., No. 01 CIV. 8854(LTS)(THK), 2006 WL 1004472, at *1 (S.D.N.Y. Apr.


35
     Indeed, the UCC is not challenging more than 7,000 of the entries on the Sackler Logs that include Messrs. Baker
or


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18, 2006) (court conducted in camera review and ordered production of withheld documents

challenged on the basis of being business, as opposed to legal, communications).

        24.      To ease the burden of the proposed review, the UCC has identified a sampling of

25 documents in the Baker and                 category from the Privilege Logs and from that sampling

the Court may determine whether further in camera review or production is necessary. 36 Courts

routinely examine a reasonable sampling of purportedly privileged documents in camera to inform

broader rulings regarding privilege issues and such a practice is appropriate here. See, e.g., Brown

v. Barnes and Noble, Inc., No. 1:16-cv-07333(RA)(KHP), 2019 WL 7168146, at *8-9 (S.D.N.Y.

Dec. 23, 2019) (granting in part motion to compel privileged documents after in camera review of

50 documents and finding that “[t]he vast majority of the documents” were not “subject to the

attorney-client privilege because they do not seek or convey legal advice”).

        B.       The Sacklers Have Not Established That                Was Acting as an
                 Agent Necessary to Facilitate the Provision of Legal Advice.
        25.                      is a non-lawyer who has provided accounting and investment advisory

services to the Side B Sacklers for decades. See, e.g., Preis Decl., Ex. 220 (                   Dep. 46:2-47:6

[HC]) (



                                              ); id. Ex. 221 (David Sackler Dep. 134:11-24, 136:13-19

[HC]) (

              ); id. Ex. 222 (Marianna Sackler Dep. 76:22-77:4 [HC]) (



                ). Side B argues that              served various other roles with respect to the Raymond



36
  See Preis Decl., Exs. A-B (Excel Tabs 1) for the full set of privilege entries for Baker and      communications
the UCC seeks and see Preis Decl., Ex. C for the narrowed sample of Baker and           communications for in camera
review.


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Sackler family, is the “consummate representative and agent” of the family, and is therefore more

properly categorized as a client representative or agent who does not waive privilege. 37 Side B

General Challenges Obj. at 20-22. But such broad strokes arguments are insufficient to establish

privilege.

        26.      Indeed, the many and varied roles                     served for Side B during the precise

years in which the Sacklers transferred more than $10 billion, along with at least another $1 billion

in other property, out of Purdue and into domestic and international trusts—some of which

      managed—for the benefit of the Sacklers is precisely why discovery of non-privileged

documents involving                  is critical to the UCC’s investigation of potential estate claims.

Specifically, understanding the steps the Sacklers may have taken to move Purdue assets away

from litigation creditors and their rationale for doing so necessarily is critical to valuing the estate

causes of action. See, e.g., Preis Decl., Ex. 220 (            Dep. 53:7-25 [HC]) (




                                                                                  ).

        27.      The relevant question for privilege purposes is not whether                              is more

appropriately categorized as an accountant/investment advisor or client representative/agent, but

rather whether his presence on the documents and communications for which protection is sought



37
   For its part, Side A makes no effort to defend the inclusion of                    aside from pointing out that
“[c]ommunications involving accountants who were necessary for the provision of legal advice were properly
withheld as privileged,” see Side A General Challenges Obj. ¶ 33, and that it is continuing to review the documents
on the Side A Logs and “anticipates that it may produce additional documents involving third-party advisors,” id. at
15-16 n.12. But the UCC does not contest that communications including accountants may be privileged if the
accountant was necessary for the provision of legal advice. Rather, the UCC disputes that Side A has actually made
such a showing as to the log entries including           or other accountants and financial advisors. The UCC thus
focuses for purposes of this Reply on the arguments set forth by Side B, which apply with equal force to Side A.


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was necessary—not simply useful or convenient—to facilitate the effective communication of

legal—not financial or business—advice between attorney and client. This standard is essentially

the    same     whether       analyzed      through      the     accountant/investment          advisor      or    client

representative/agent lens. See, e.g., United States v. Kovel, 296 F.2d 918, 922 (2d Cir. 1961)

(accountant vitiates privilege unless “the presence of the accountant is necessary, or at least highly

useful, for the effective consultation between the client and the lawyer which the privilege is

designed to permit”); SEC v. Wyly, No. 10 Civ. 5760(SAS), 2011 WL 3366491, at *2 (S.D.N.Y.

July 27, 2011) (“The presence of these agents does not destroy the privilege if their presence was

needed to facilitate effective communication of legal advice between the attorney and the client.”).

         28.      Moreover, Side B mischaracterizes the law regarding agents or employees of family

offices. Neither proposed Federal Rule of Evidence 503 nor either of the cases Side B cites stands

for the proposition that an agent or employee of a family office—especially one that holds many

and varied roles for different individuals, entities, and organizations—is automatically entitled to

privilege protection with respect to each and every document or communication related to the

family whose office he serves. As recognized in both of the cases Side B cites, a fact-specific

inquiry is required with respect to the particular documents at issue to determine whether the

representative was acting as an agent necessary for the provision of legal advice at the time and in

the context of the communication. See In re Lululemon Athletica Inc., 220 Litig., No. 9039-VCP,

2015 WL 1957196, at *8 (Del. Ch. Apr. 30, 2015) (applying Delaware 38 privilege law to conduct



38
   Though recognizing the need to conduct a fact-specific inquiry to determine whether third-party agents break
privilege, In re Lululemon Athletica Inc. 220 Litigation, is otherwise inapposite as it relies on Delaware law and applies
a less restrictive standard—that the agent “shares responsibility for the subject matter underlying the consultation,”
2015 WL 1957196, at *9—than the Second Circuit’s more exacting requirement that the third party be “necessary”
for the effective communication of legal advice. See, e.g., Wyly, 2011 WL 3366491, at *2. Under federal common
law as interpreted by the Second Circuit, the necessity element requires that the third-party agent’s involvement be
indispensable in facilitating the attorney-client communication. See, e.g., Kovel, 296 F.2d at 921; Strougo v. BEA
Assocs., 199 F.R.D. 515, 522 (S.D.N.Y. 2001) (for privilege to apply notwithstanding presence of third party, the


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a detailed and fact-specific inquiry regarding a single email chain and ultimately concluding that

the representative of the family office was acting as an agent with respect to the communication at

issue because under an established trading plan, the family office representative was authorized to

receive notices regarding trades and had responsibility over matters relating to that trade); Wyly,

2011 WL 3366491, at *2, 5 (conducting a detailed, entry-by-entry review of the circumstances of

each challenged document to determine whether “at this time and with respect to the matter

presented in the documents logged” individuals who “wore many hats” were operating “as a

necessary agent” for purposes of facilitating legal advice). And “[t]he party invoking the privilege

has the burden of showing that the agent was ‘necessary to facilitate client communications’

between the principal and the lawyer.” Wyly, 2011 WL 3366491, at *2 (quoting In re Application

Pursuant to 28 U.S.C. § 1782, 249 F.R.D. 96, 100-01 (S.D.N.Y. 2008)).

         29.      The Sacklers have not met—or even attempted to meet—their burden to establish

          was a necessary agent with respect to any of the communications at issue. For example,

as to the family office role (and indeed every other role in which                            served), Side B has

failed to specify for which withheld communications                              was purportedly acting in his

capacity as a representative of the family office as opposed to a trustee or one of his many other

roles; who engaged counsel—whether it was the family office itself or one or more of the

individual family members; and why                       was needed—and not merely convenient—for the

communication. Side B’s generic assertions that                         held many roles related to the Sackler

families and entities fall short of the standard, and thus, the documents and communications

including              should be produced. 39


third-party agent must be “crucial to the lawyer’s assessment of his client’s case”); Wigmore on Evidence § 2301
(2019 Supp.) (requiring the “assistance of [] agents” to be “indispensable” to attorney’s work).
39
   This same analysis applies to the employees who worked for            for which Side B has made no effort to satisfy
its burden. See Side B General Challenges Obj. at 20 n.39.


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        30.      For these same reasons, the Sacklers have not met their burden to show that any

purported work product protection for the entries related to                          exists and has not been

waived. See, e.g., Bank of Am., N.A., 212 F.R.D. at 169 (“The party asserting the protection

afforded by the work product doctrine has the burden of showing both that the protection exists

and that it has not been waived.”).

        31.      Because of the Sacklers’ failure to meet their burden of proving that                         (or

accounting personnel assisting him) was necessary for the rendition of legal advice on each of the

1,184 communications the UCC has challenged or that these communications are subject to work

product protection, the communications should be produced. In the alternative, the UCC requests

that the Court conduct an in camera review of a sampling of 14 of the                   challenged documents

and from that sampling determine whether further in camera review or production of the remaining

challenged         documents is appropriate. 40

        C.       The Sacklers Have Not Met Their Burden of Proving Privilege as to
                 Communications Among Special Committee Members and the Sacklers
                 (and/or Their Board Designees).
        32.      The Sacklers claim that communications with members of the Special Committee

after the Sacklers left the Board are privileged and subject to protection under the common interest

doctrine because the Sacklers and the Debtors—including the members of the Special Committee

in their capacity as Purdue Board members at-large—share a common interest in defending against

the opioid litigation brought against Purdue and the Sacklers. See Side A General Challenges Obj.

¶¶ 5, 19-21; Side B General Challenges Obj. at 3-4, 26-27. But the Sacklers have submitted no

evidence showing their interests (and/or the Sacklers’ Board designees) and the Special Committee

members’ interests were or should have been aligned in any of the 93 challenged entries. Indeed,


40
   See Preis Decl., Exs. A-B (Excel Tabs 2) for the full set of privilege entries for  communications the UCC seeks
and see Preis Decl., Ex. C for the narrowed suggestion of sample           communications for in camera review.


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the Special Committee has a duty to investigate potential estate claims against the Sacklers,

including by developing arguments that Purdue itself was insolvent since the Sacklers started

transferring billions of dollars out of Purdue to themselves, and based on its liability arising out of

the opioid crisis and attendant litigation.        Therefore, there could be no expectation of

confidentiality for communications between the Sacklers and/or their Board designees on the one

hand, and members of the Special Committee on the other hand, as to the defense of such claims.

       33.     The common interest doctrine “protect[s] the confidentiality of communications

passing from one party to the attorney for another party where a joint defense effort or strategy has

been decided upon and undertaken by the parties and their respective counsel.” United States v.

Schwimmer, 892 F.2d 237, 243 (2d Cir. 1989) (citation omitted). Importantly, the common interest

doctrine applies “only insofar as [the parties’] interests are in fact identical; communications

relating to matters as to which [the parties] [hold] opposing interests . . . lose any privilege.” In re

Rivastigmine Patent Litig., No. 05-MD-1661(HB/JCF), 2005 WL 2319005, at *4 (S.D.N.Y. Sept.

22, 2005) (citation omitted). The party claiming common interest has the burden to “establish its

existence” by “competent evidence, usually through the admission of affidavits, deposition

testimony or other admissible evidence.” Gulf Islands Leasing, Inc. v. Bombardier Capital, Inc.,

25 F.R.D. 466, 472 (S.D.N.Y. 2003) (citing von Bulow, 811 F.2d at 147; Bowne, 150 F.R.D. at

472). “The burden cannot be met by ‘mere conclusory or ipse dixit assertions’ in unsworn motion

papers authored by attorneys.” Id. (quoting von Bulow, 811 F.2d at 146 (internal quotation marks

and citations omitted)).

       34.     The Special Committee is charged with fully and fairly investigating estate causes

of action against the Sacklers and others, including investigating Purdue’s insolvency as a result




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Steinhardt Partners, L.P., 9 F.3d 230, 235 (2d Cir. 1993)).

        35.     In any event, the Sacklers have submitted no evidentiary support for their

conclusory assertions in their unsworn Objections that the Special Committee members were “

                                                               ” in any of the communications the UCC

has challenged. See, e.g., Side B General Challenges Obj. at 4. The Privilege Logs do not explain

for any of the challenged entries the capacity in which the Special Committee members were

acting, and the Sacklers have not submitted declarations from members of the Special Committee

or other parties copied on the communications attesting that in each of the challenged entries, the

Special Committee members were acting in their capacity as at-large Purdue Board members in

connection with opioid litigation—in a manner totally unrelated to the Special Committee’s

investigation—as the Sacklers baldly assert.

        36.     These critical omissions undermine the Sacklers’ efforts to shield their

communications with the Special Committee communications from production. The Special

Committee, which the UCC understands was formed in May 2019, has been charged with

investigating estate claims, including potential claims against the Sacklers and legacy Board

members such as long-serving Purdue Board members Cecil Pickett and Peter Boer (both Sackler

appointees and confidantes), who are still on the Board. 42 Thus, as of the Special Committee’s

formation, the interests of its members and the subjects of its investigation are clearly adverse.

Communications among parties with adverse interests lose any privilege that may have otherwise

attached. See In re Rivastigmine Patent Litig., 2005 WL 2319005, at *4; see also Middlesex Ret.

Sys. v. Quest Software, Inc., No. CV 06-6863-DOC(RNBx), 2009 WL 10673943, *at 4 & n.6 (C.D.

Cal. July 8, 2009) (holding that special committee “did not have the requisite ‘common interest’


42
   The Special Committee members are Steve Miller, Kenneth Buckfire, Mike Cola, and John Dubel. Informational
Brief at 14.


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                                  . 45



                                         . 46




                               . And it is also unclear how the interests of the Sacklers and the Special

Committee members are not adverse with respect to such investigation. Clearly, Side A does not

view this June 2019 email exchange as common interest, given its decision to produce one iteration

of the email chain, and the similar entries on the Side A Logs should also be produced.

        39.      Moreover, the Sackler Logs contain numerous entries dated May 20-23, 2019—

long after the Sacklers left the Purdue Board—copying



                                                                                                           , 47 as

demonstrated by related WhatsApp messages that have been produced. 48 The fact that many such

communications involving                                                  have been produced suggests that

                                                                                  are not entitled to privilege

protection and likewise should be produced.

        40.      Accordingly, the UCC requests that the Court order the Sacklers to produce all of




45
   Id.
46
   See id.
47
   See Objection of the Ad Hoc Group of Non-Consenting States to the Motion of Debtors Pursuant to 11 U.S.C. § 105
and Fed. R. Bankr. P. 9019 Authorizing and Approving Settlements Between the Debtors and the United States [ECF
1914] at n.5 (                                                                          ).
48
   See Preis Decl., Ex. A (Excel Tab 3, at 24466, 24470, 24476, 24478, 24482, 24490, 24493, 24568, 24575, 24578,
24579, 24600, 32804); id. Ex. B (Excel Tab 3, at PS-01157672, DSF0027111, PS-01149009, PS-01157592, PS-
01157604, PS-01157645, PS-01157648, DSF0027075, DSF0027080, DSF0027095, PS-01157154, PS-01157155, PS-
01891599, PS-01891600, PS-01891603, PS-01891554); see Preis Decl., Exs. 128-130 [C].


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the 93 challenged Special Committee documents. 49 In the alternative, the UCC requests that the

Court conduct in camera review of a sampling of 13 documents in the Special Committee category,

and from that sampling determine whether further in camera review or production of the remaining

challenged entries is appropriate. 50

         D.       The Sacklers Have Not Shown That Communications Including Other Third
                  Parties and Communications Without Lawyers That Purport to Reflect an
                  Intent to Seek Legal Advice are Privileged.
         41.      The Sacklers have made no evidentiary showing that the Withheld Documents

shared with third parties, including public relations firms, accountants/investment advisors, and

other third parties, are shielded by the attorney-client privilege and work product protection. The

Sacklers’ argument that the UCC has made no showing that sharing work product with these third

parties increased the likelihood that the material would come into the hands of a litigation

adversary improperly shifts the burden of proof. 51 As explained above, the Sacklers have the

“heavy burden” of showing that (1) the documents are subject to the attorney-client privilege

and/or work product protection, and (2) those privileges were not waived. Nor has Side A met its

burden to show that entries on the Side A Logs that do not copy lawyers but yet are described as

reflecting “an intent to seek legal advice” are privileged.

         42.      The Objections offer explanations that are not present in or apparent from the

Privilege Logs for a handful of entries concerning third parties to justify the Sacklers’ privilege

claims over these documents. In a showing of good faith and to reduce the burden on the Court,

49
   In connection with the UCC’s Motion, Side B manually reviewed 144 documents it previously represented contained
dates that were undeterminable based on unreliable metadata. See Side B General Challenges Obj. at 25-26. Side B’s
Exhibit 121 to its Objection confirmed that 142 of these documents are dated before the Special Committee was
formed. See id. Therefore, the UCC withdraws its challenges to these documents.
50
   See Preis Decl., Exs. A-B (Excel Tabs 3) for the full set of privilege entries for Special Committee communications
the UCC seeks and see Preis Decl., Ex. C for the narrowed sample Special Committee communications for in camera
review.
51
   The UCC has challenged the Sacklers’ privilege assertions in connection with documents shared with third-party
service providers and other third parties since their earliest meet and confer letters in August. This includes all bases
for withholding—including work product grounds.


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    •       Other Third-Parties—UCC Challenge Withdrawn: The Sacklers have not met their
            burden of proving that logged documents and communications with other kinds of
            service providers and third parties have been properly withheld. 59 While circumstances
            can exist in which such documents and communications are protected from disclosure,
            the Sacklers have not made the evidentiary showing necessary to demonstrate that those
            circumstances exist as to each third-party entry on their Privilege Logs. See Music Sales
            Corp. v. Morris, No. 98 Civ. 9002(SAS)(FM), 1999 WL 974025, at *7 (S.D.N.Y. Oct.
            26, 1999) (“The voluntary disclosure of privileged attorney-client communications to
            unrelated third parties typically constitutes a waiver of the privilege.”); Fifty-Six Hope
            Rd. Music Ltd., 2010 WL 343490, at *3 (stating that “disclosure of documents to a third-
            party may waive the work-product privilege”) (citing In re Grand Jury Proceedings,
            219 F.3d 175, 191 (2d Cir. 2000)); see also Ackert, 169 F.3d at 139-40 (investment
            banker); City of Almaty, Kazakhstan v. Ablyazov, No. 15-CV-05345(AJN)(KHP), 2019
            WL 2865102, at *8 (S.D.N.Y. July 3, 2019) (consultant); Obeid v. Mack, No. 14 Civ.
            6498(LTS)(HBP), 2016 WL 7176653, at *8-9 (S.D.N.Y. Dec. 9, 2016) (co-investor);
            866 E. 164th St., LLC v. Union Mut. Fire Ins. Co., No. 16-CV-03678(SN), 2016 WL
            6901321, at *1 (S.D.N.Y. Nov. 23, 2016) (insurer); In re North Plaza, LLC, 395 B.R.
            113, 126 (S.D. Cal. July 25, 2008) (real estate broker). While the Sacklers have not met
            their burden of proof to withhold these documents as privileged, the UCC withdraws its
            challenges to these documents in the interest of narrowing this dispute only to
            documents of paramount importance to the UCC’s investigation.

          43.     The UCC has diligently worked with the Sacklers to narrow its challenges to

documents relevant to the UCC’s investigation, and the remaining documents indicated above

(intent    to    seek     legal    advice     (5    documents),        public     relations     (354     documents),

accountants/investment advisors (408 documents)) should be produced. In the alternative, the

UCC requests that the Court conduct an in camera review of a sampling of 35 of the challenged

documents from the above categories and from that sampling determine whether further in camera

review or production of the remaining challenged documents is appropriate.


challenged, but stands by its challenges to the other remaining documents because the Sacklers have not met their
burden of showing privilege or work product protection. See Preis Decl., Exs. A-B (Excel Tabs 5) for the full set of
privilege entries for accountant/investment advisor communications the UCC seeks and Preis Decl., Ex. C for the
narrowed sample accountant/investment advisor communications for in camera review.
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   As stated in the UCC’s Motion, for Side A, these other third parties include architects, building and construction
contractors/managers, gardeners, farm and estate managers, personal “friends” of various Sacklers, a chef and other
restaurant employees, charity directors, and art consultants, see Hurley Decl., Ex. A (Excel Tab F); insurance brokers,
id. (Excel Tab G); bankers, id. (Excel Tab H); real estate brokers, id. (Excel Tab I); co-investors and/or counterparties
to transactions, id. (Excel Tab J); and a variety of consultants, id. (Excel Tab K). Side B asserts privilege over its
communications involving consultants, Hurley Decl., Ex. B (Excel Tab D); co-investors, id. (Excel Tab E); bankers,
id. (Excel Tab F); real estate firms, id. (Excel Tab G); and other third parties, such as a recipient of a charitable
donation and an individual who “                                                      ,” id. (Excel Tab H).


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                                         CONCLUSION
       44.     For all of the foregoing reasons and those stated in the Motion, the UCC

respectfully requests that the Court grant the Motion in its entirety (other than with regard to the

Debtors), and enter the proposed order submitted with the Reply requiring the Sacklers to (i)

produce the Withheld Documents or (ii) provide the Withheld Documents, or a subset thereof, to

the Court for review in camera and production to the UCC to the extent deemed appropriate. The

NCSG supports the relief requested herein.




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  New York, New York                    AKIN GUMP STRAUSS HAUER & FELD LLP
  Dated: November 18, 2020

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                                    Exhibit A

                            Proposed Form of Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             )
    In re:                                                   )        Chapter 11
                                                             )
    PURDUE PHARMA L.P., et al.,1                             )        Case No. 19-23649 (RDD)
                                                             )
                                     Debtors.                )        (Jointly Administered)
                                                             )

 ORDER GRANTING THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
    MOTION TO COMPEL PRODUCTION OF PURPORTEDLY PRIVILEGED
   DOCUMENTS, OR FOR IN CAMERA REVIEW, BASED ON FAILURE OF THE
           SACKLERS AND THE DEBTORS TO DEMONSTRATE
          DOCUMENTS IDENTIFIED ON LOGS ARE PRIVILEGED

             Upon the Motion to Compel Production of Purportedly Privileged Documents, or for

    In Camera Review, Based on Failure of the Sacklers and the Debtors to Demonstrate

    Documents Identified on Logs Are Privileged, dated September 30, 2020 [ECF No. 1752] (the

    “Motion”), of the Official Committee of Unsecured Creditors (the “UCC”) of Purdue Pharma

    L.P. and its affiliated debtors and debtors in possession (collectively, the “Debtors”) and upon

    all papers filed in connection with the Motion; and upon the record of the hearing held by the

    Court on December 15, 2020, and all objections to the Motion having been withdrawn or

    overruled; and the Court having jurisdiction over the Motion pursuant to 28 U.S.C. § 1334(a);

    and the venue of these chapter 11 cases and the Motion being proper in this District pursuant

    to 28 U.S.C. §§ 1408 and 1409; and the Motion being a core proceeding pursuant to 28 U.S.C.


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  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium
Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp.
(4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue
Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805),
Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes
Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF L.P. (0495), SVC Pharma L.P. (5717) and SVC
Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
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 § 157(b); and the Court having authority to enter a final order with respect to the Motion; and

 no additional notice being required except as provided herein; and, after due deliberation and

 good and sufficient cause appearing; now, therefore,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

       1.      Pursuant to the Stipulation of Settlement and Agreed Order Regarding Official

Committee’s Motions to Compel and Debtors’ Motion for Protective Order [ECF No. 1955-1],

the UCC and the Debtors have resolved the portions of the Motion directed at documents withheld

by the Debtors, and the UCC seeks no further relief as to those portions of the Motion. For these

reasons, the Motion is DENIED AS MOOT as to the relief sought against the Debtors.

       2.      The Motion is GRANTED as to the Sacklers (as defined in the Motion).

       3.      The Sacklers are hereby ORDERED to produce, or in the alternative to provide for

in camera review as noted below, all documents that have been or may be withheld on purported

privilege grounds within the categories identified in the Motion, as follows:

            a. The Sacklers are hereby ORDERED to produce, or in the alternative provide for

                in camera review, the withheld documents and communications that include

                Stuart Baker or Jonathan White as identified at Exhibit A (Excel Tab 1) and

                Exhibit B (Excel Tab 1) to the Preis Declaration dated November 18, 2020 (“Preis

                Declaration”).

            b. The Sacklers are hereby ORDERED to produce, or in the alternative provide for

                in camera review, the withheld documents and communications with Stephen

                Ives identified at Exhibit A (Excel Tab 2) and Exhibit B (Excel Tab 2) to the Preis

                Declaration.

            c. The Sacklers are hereby ORDERED to produce, or in the alternative provide for



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               in camera review, the withheld documents and communications with members of

               the Special Committee identified on Exhibit A (Excel Tab 3) and Exhibit B (Excel

               Tab 3) to the Preis Declaration.

          d. The Sacklers are hereby ORDERED to produce, or in the alternative provide for

               in camera review, the withheld documents and communications with public

               relations consultants identified on Exhibit A (Excel Tab 4) and Exhibit B (Excel

               Tab 4) to the Preis Declaration.

          e. The Sacklers are hereby ORDERED to produce, or in the alternative provide for

               in camera review, the withheld documents and communications with accountants

               and investment advisors identified on Exhibit A (Excel Tab 5) and Exhibit B

               (Excel Tab 5) to the Preis Declaration.

          f. The Side A Sacklers (as defined in the Motion) are hereby ORDERED to produce,

               or in the alternative provide for in camera review, the withheld documents and

               communications purporting to reflect an intent to seek legal advice as identified

               on Exhibit A (Excel Tab 6) to the Preis Declaration.

White Plains, New York

Dated: ____________________
                                     THE HONORABLE ROBERT D. DRAIN
                                     UNITED STATES BANKRUPTCY JUDGE




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